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EXHIBIT D

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,

Plaintiff,

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants,

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT D — Prisoner Compartment Camera Footage

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit D, prisoner compartment camera footage from
Deputy Jason Bueno’s patrol vehicle on August 30, 2022, obtained via discovery in Case No. 22
CR 01231 1C (dismissed). Filed on USB per LR IC 2-2 with a Notice of Manual Filing, this

exhibit supports Plaintiff's claims and Rule 56 motion.

Key Evidence and Legal Violations

PLEADING TITLE - 1

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Timestamp Incident

0:05:26— Plaintiff enters vehicle;

0:05:30 shirt, face, neck dry.

Plaintiff requests cameras
0:05:43- on; Deputy Palamar
0:05:51 refuses; Plaintiff cites

Fordyce, Irizarry.

0:07:52- Five unanswered sergeant

0:08:00 requests.

“Right in front of visitor

0:08:40-

center you can’t take
0:08:45

pictures?”
0:09:14—

Sweat spot forms on chest.
0:09:20

0:10:28— Window rolled up, door

0:10:33 slams.

PLEADING TITLE - 2

Cross-
Legal Relevance
Reference

Establishes baseline for heat distress
under Kingsley v. Hendrickson, 576 U.S.

389 (2015).

Violates First Amendment recording
rights per Fordyce v. Seattle, 55 F.3d 436
(9th Cir. 1995); Glik v. Cunniffe, 655

F.3d 78 (1st Cir. 2011),

Denies procedural due process under
Mathews v. Eldridge, 424 U.S. 319

(1976),

Supports First Amendment public forum

rights per Fordyce.

Initiates Eighth Amendment distress per
Hope v. Pelzer, 536 U.S. 730 (2002):

Estelle v. Gamble, 429 U.S. 97 (1976).
Constitutes inhumane confinement under
Hope; Youngberg v. Romeo, 457 U.S. 307 Exhibit C

(1982); NRS 200.481 (battery).

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Cross-
> || Timestamp Incident Legal Relevance
Reference
3
4 Demonstrates deliberate indifference
5 || 0:10:40— “They’re trying to hot box under Kingsley; Wilson v. Seiter, 501
6 |] 0:10:45 me”; sweat spot grows. U.S. 294 (1991); NRS 197.200
’ (oppression),
8
9 No arrest notice; no Violates Fourth Amendment (Devenpeck
0:19:44—
10 seatbelt as transport v. Alford, 543 U.S. 146 (2004)); Eighth
0:19:55
tH begins. Amendment reckless disregard (Hope).
12
Breaches Fifth Amendment (Miranda v.
13
0:20:56— Late Miranda; no Arizona, 384 U.S. 436 (1966)); Fourth
14
15 || 0:21:05 obstruction answer. Amendment (Thompson v. Clark, 142 S.
16 Ct. 1332 (2022)); NRS 200.460.
"7 0:21:35— Confirms severe heat distress under
18 Neck wet, shirt soaked.
0:21:40 Hope, Estelle; NRS 200.481 (battery).
19
20 Exits unseatbelted after
0:33:23— Demonstrates reckless endangerment
21 transport at highway
0:33:30 under Kingsley; NRS 207.190 (coercion).
22 speeds.
23
24
25
Summary Judgment Purpose
26
27
28
PLEADING TITLE - 3

to

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These undisputed facts—hotboxing admission (0:10:40), visible sweating progression
(0:09:14—-0:21:35), window closure (0:10:28), and no seatbelt risking injury at highway speeds
(0:19:55—0:33:23)—-violate clearly established law (Fordyce, Hope, Devenpeck), defeating
qualified immunity (Harlow v. Fitzgerald, 457 U.S. 800 (1982)). Defendants’ potential

“necessity” defense fails against Kingsley’s objective unreasonableness standard.

State Law Claims

This conduct also violates Nevada law, including false imprisonment (NRS 200.460), battery
(NRS 200.481), coercion (NRS 207.190), and oppression under color of law (NRS 197.200),

actionable under 28 U.S.C. § 1367.

Authentication

Per Fed. R. Evid. 901, I, Drew J. Ribar, declare under penalty of perjury that this footage

accurately depicts my confinement on August 30, 2022.

Dated: March 27, 2025
/s/ Drew J. Ribar
Drew J. Ribar

3480 Pershing Ln, Washoe Valley, NV 89704

PLEADING TITLE - 4

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PLEADING TITLE - 5

